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                                                                                   E-FILED
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                                                              Clerk, U.S. District Court, ILCD


                  UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS
                      SPRINGFIELD DIVISION


VANOKA WASHINGTON,                        )
   Plaintiff,                             )
                                          )
      v.                                  )     Case No. 3:18-cv-03099-CSB
                                          )
STEVEN RYAN, et al.,                      )
    Defendant.                            )

                    SUMMARY JUDGMENT ORDER

COLIN STIRLING BRUCE, United States District Judge:

      In May 2018, Plaintiff pro se, Vanoka Washington, who has been

released from the Illinois Department of Corrections (“IDOC”), filed a

complaint under 42 U.S.C. § 1983 [1], alleging constitutional violations that

occurred while he was incarcerated at Western Illinois Correctional Center

(“Western”). Plaintiff named the following Defendants: correctional

lieutenant Steven Ryan and correctional officers Jamie Berghaus, Corey

Cortes, Tyler Dralle, Andrew Manton, and Keenan Smith.

      After screening the complaint as required under 28 U.S.C. § 1915A,

the Court found that Plaintiff stated the following claims: (1) an Eighth
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Amendment excessive force claim against Defendants Cortes and Ryan; (2)

a First Amendment retaliation claim against Defendants Berghaus and

Ryan; and (3) an Eighth Amendment deliberate indifference claim against

Defendants Berghaus, Cortes, Dralle, Manton, Ryan, and Smith. [10].

      Before the Court is a motion for partial summary judgment [26] filed

by Defendants, who assert that Plaintiff did not exhaust his administrative

remedies as to his Eighth Amendment claims. Plaintiff has responded [31].

Based on the parties’ pleadings, affidavits, and other supporting

documents, the Court grants Defendants’ motion.

                 I. SUMMARY JUDGMENT STANDARD

      “The court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A movant

may show the absence of a genuine dispute through specific cites to

relevant evidence or by showing that the nonmovant “cannot produce

admissible evidence to support the [material] fact.” Fed. R. Civ. P. 56(c)(1).

“If the moving party has properly supported his motion, the burden shifts


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to the non-moving party to come forward with specific facts showing that

there is a genuine issue for trial.” Spierer v. Rossman, 798 F.3d 502, 507 (7th

Cir. 2015).

      The nonmovant may not rest on his allegations in the complaint, but

instead, must point to relevant evidence in the record to show that a

genuine dispute exists. Id. “Conclusory allegations, unsupported by

specific facts will not suffice.” Harvey v. Town of Merrillville, 649 F.3d 526,

529 (7th Cir. 2011). “A dispute is ‘genuine’ if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Zaya v.

Sood, 836 F.3d 800, 804 (7th Cir. 2016) (quoting Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986)). In making that decision, a court construes

facts and reasonable inferences in the light most favorable to the

nonmovant. Ogden v. Atterholt, 606 F.3d 355, 358 (7th Cir. 2010).

              II. THE ADMINISTRATIVE REMEDY PROGRAM

      Because Defendants claim that Plaintiff failed to exhaust his

administrative remedies, that procedure is summarized to provide context.




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      The Illinois Administrative Code (“Code”) guides the proper

procedures to resolve grievances filed by IDOC inmates. See 20 Ill. Admin.

Code § 504.800 et seq. (2017), as promulgated in 41 Ill. Reg. 3908–14 (Mar.

31, 2017), effective April 1, 2017.

      Typically, an inmate must follow a process that begins by filing a

written grievance addressed to the inmate’s institutional counselor within

sixty days “after the discovery of the incident, occurrence, or problem that

gives rise to the grievance.” Id. § 504.810(a). After the institutional

counselor reviews the inmate’s grievance, a grievance officer reviews the

claim and provides a written response to the inmate. Id. § 504.830(a).

“However, complaints concerning discipline or sexual abuse shall be sent

by the offender directly to the grievance officer.” Id. § 504.810(a). The

grievance officer then reports his or her findings and recommendations to

the chief administrative officer. Id. § 504.830(e).

      The chief administrative officer, typically the warden, then reviews

the grievance officer’s findings and recommendation and decides the

grievance. Id. If the issue remains unresolved, the inmate may appeal the


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chief administrative officer’s decision to the director of IDOC. Id. § 504.850.

The Administrative Review Board (“ARB”), which acts as the IDOC

director’s designee, reviews the inmate’s appeal and submits its findings

and recommendations to the director, who then makes a final decision. Id.

      Section 504.870 permits an offender to send a grievance directly to the

ARB under the following pertinent circumstances:

      3) Decisions regarding disciplinary proceedings that were
         made at a facility other than the facility where the
         offender is currently assigned.

      4) Other issues that pertain to a facility other than the
         facility where the offender is currently assigned,
         excluding personal property and medical issues.

Id. § 504.870.

                           III. MATERIAL FACTS

      Consistent with summary judgment standards, the Court provides

the following facts in the light most favorable to Plaintiff, drawing all

reasonable inferences in his favor. Robinson v. Perales, 894 F.3d 818, 823 (7th

Cir. 2018).




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       On September 29, 2017, Plaintiff filed a grievance, alleging that after a

September 18, 2017, shakedown at Western, Defendant Ryan wrote an

inmate disciplinary report (“IDR”), charging Plaintiff with disobeying a

lawful order and “dangerous communications.” (ECF 26-1: p. 14.) Plaintiff

asserted that because recordings taken during the shakedown did not

support the charges, the adjustment committee should have disregarded

Ryan’s report at Plaintiff’s subsequent disciplinary hearing.

       Plaintiff also alleged that he was denied medical treatment for

injuries inflicted by the tactical unit during his transfer to segregation and

injuries to his wrist, groin, back, shoulder, stomach, and chest after arriving

at segregation. (Id. p. 15.) Plaintiff requested the following relief:

               All disciplinary sanctions lifted, and privileges
               restored. This matter to be turned over to Internal
               Affairs for investigation into the staff misconduct
               [by Defendants] Ryan and Cortes et al. for excessive
               force.

(Id. p. 14.)

       On November 25, 2017, Plaintiff filed a grievance, requesting an

update on his September 29, 2017, grievance. (Id. p. 16.) Plaintiff expressed


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concern that a delay in receiving a response would adversely affect his

ability to exhaust his administrative remedies. On December 6, 2017, Tara

Goins, a grievance officer, returned Plaintiff’s November 2017 grievance,

stating her intent to respond. (26-2: p. 2:17.)

      On January 10, 2018, IDOC transferred Plaintiff to Hill Correctional

Center. Two days later, Plaintiff submitted a grievance to the ARB. Plaintiff

explained that on September 29, 2017, he sent a grievance to Goins,

complaining that on eleven days earlier, Defendants Ryan and Cortes,

unknown members of the Western tactical unit cell extraction team, and

the statewide tactical unit used excessive force and filed a false IDR to

cover up the assault. (26-1: pp. 20-21.) Plaintiff also explained to the ARB

that on November 25, 2017, he requested an update on his September 2017

grievance, and Goins provided an update within two weeks. (Id. p. 21.)

      Plaintiff then asserted that the staff at Western and Goins acted in

concert with Defendants Cortes and Ryan to impede his efforts to exhaust

his institutional remedies. Plaintiff requested an investigation into the

actions of Goins, the segregation staff, the adjustment committee members;


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Western’s warden, and Defendants Berghaus, Cortes, and Ryan regarding

the September 18, 2017, incident; and his September 29, 2017, grievance.

(26-1: p. 20.)

      On January 26, 2018, the ARB received Plaintiff’s January 2018

grievance, his November 2017 grievance, and Goins December 2017

response. In February 2018, the ARB sent Plaintiff a “Return of Grievance

or Correspondence” form. The ARB classified Plaintiff’s appeal as

“misdirected” because “medical issues are to be reviewed at your current

facility prior to review by the [ARB].” (Id. p. 23.) In the space designated as

“other,” appeared a handwritten note stating, “These submissions fail to

meet [Department Rule] 504F. No review.” (Id.)

      On January 31, 2018, Goins sent her recommendation to deny

Plaintiff’s September 29, 2017, grievance to the chief administrative officer

at Western, Cameron Watson. Watson concurred with Goins’ decision. On

February 2, 2018, Western mailed the response to Plaintiff.




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                                IV. ANALYSIS

                        A. Failure to Exhaust Standard

      Section 1997e(a) of the Prison Litigation Reform Act provides the

following guidance regarding the applicability of administrative remedies:

              No action shall be brought with respect to prison
              conditions under section 1983 of this title, or any
              other Federal law, by a prisoner confined in any jail,
              prison, or other correctional facility until such
              administrative remedies as are available are
              exhausted.

42 U.S.C. § 1997e(a).

      “Exhaustion of administrative remedies serves two main purposes.”

Woodford v. Ngo, 548 U.S. 81, 89 (2006). First, it provides an agency the

“opportunity to correct its own mistakes with respect to the programs it

administers before it is haled into federal court and it discourages

disregard of the agency’s procedures.” Id. Second, “exhaustion promotes

efficiency” as claims can generally “be resolved much more quickly and

economically in proceedings before an agency than in litigation in federal

court.” Id.



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      The Seventh Circuit has taken a strict compliance approach to

exhaustion, requiring a prisoner to pursue all available administrative

remedies and comply with the prison’s procedural rules and deadlines.

Pozo v. McCaughtry, 286 F.3d 1022, 1025 (7th Cir. 2002). “To exhaust

remedies, a prisoner must file complaints and appeals in the place, and at

the time, the prison’s administrative rules require. Id. If an inmate fails to

follow the grievance procedure rules, his claims will not be considered to

be exhausted, but instead forfeited, and he will be barred from filing suit in

federal court even if administrative remedies are for practical purposes no

longer available to him due to his procedural default. Id. “Proper

exhaustion demands compliance with an agency’s deadlines and other

critical procedural rules because no adjudicative system can function

without imposing some orderly structure on the course of its proceedings.”

Woodford, 548 U.S. at 90-91.

      Failure to exhaust is an affirmative defense for which the defendants

carry the burden of proof. Hernandez v. Dart, 814 F.3d 836, 840 (7th Cir.

2016).


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                        B. Defendants’ Exhaustion Claim

      Defendants contend that they are entitled to summary judgment on

Plaintiff’s Eighth Amendment claims because Plaintiff did not exhaust his

administrative remedies as to his September 29, 2017, or January 12, 2018,

grievances. Defendants first assert that Plaintiff never appealed his

September 29, 2017, grievance to the ARB. In support of their assertion,

Defendants attach the declaration of an ARB Chairperson, who confirms

that the ARB’s records do not show that Plaintiff appealed his September

29, 2017, grievance.

      Plaintiff responds that Goins’ delay in responding to his September

29, 2017, grievance, denied him specific remedies such as a “meeting with

the grievance officer” and the ability to have the chief administrative

officer consider his September 29, and November 25, 2017, grievances

concurrently. See 20 Ill. Admin. Code § 504.830(d) (“An offender may be

afforded an opportunity to appear before the Grievance Officer unless the

grievance is deemed without merit.”); see also Id. § 504.830(e) (allowing the




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chief administrative officer to issue one combined response “to duplicate

grievances on issues that are currently being grieved”).

      The Court concludes that Plaintiff’s rebuttal regarding the denial of

his remedies is nonresponsive to Defendants’ established claim that

Plaintiff took no action after Watson responded to his September 29, 2017,

grievance.

      Defendants also assert that Plaintiff did not exhaust his January 12,

2018, grievance because the ARB denied it on procedural grounds. Plaintiff

responds that the ARB erred because it denied his grievance based on a

medical claim he did not raise. However, the ARB also refused to consider

the merits of Plaintiff’s January 2018 grievance because Plaintiff failed to

comply with Department Rule 504F. See Barrows v. Illinois Department of

Corrections, 2014 WL 4216223, at *2 (C.D. Ill. 2014) (“Under Department

Rule 504F: Grievance Procedures for Committed Persons, generally, an

inmate has sixty days to file a grievance from the date of discovery of the

problem.”).




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      If an institution “accepts a belated filing, and considers it on the

merits, that step makes the filing ‘proper’ for purposes of state law and

avoids exhaustion, default, and timeliness hurdles in federal court.” Pozo,

286 F.3d at 1025. “But if the state stands on its time limits and rejects the

filing as too late, then state remedies have not been properly invoked.” Id.

      The ARB’s characterization of Plaintiff’s January 2018 grievance as

misdirected because it pertained to medical issues was not a decision on

the merits because, as Plaintiff concedes, he did not raise medical claims in

his grievance to the ARB. However, even if Plaintiff had alleged medical

issues, Plaintiff still would not have exhausted his administrative remedies.

See Brooks v. Walls, 301 F.3d 839, 841 (7th Cir. 2002) (where the Seventh

Circuit held that “both aspects of a dual-ground decision (substance and

procedure) must be respected, so that an untimely petition is not properly

filed even if the court also addresses the merits—whether or not the

timeliness ruling was entangled with the merits.”) ( internal citation and

quotation marks omitted).




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      The record in this case shows that Plaintiff was aware of the

procedures he had to satisfy to exhaust his administrative remedies. For

example, as mandated by section 504.810(a) of the Code, Plaintiff correctly

bypassed Western’s counselor and submitted his complaint directly to

Goins, the grievance officer, because Plaintiff’s September 29, 2017,

grievance raised issues related to prison discipline. Therein, Plaintiff

alleged Eighth Amendment excessive force and deliberate indifference

claims.

      In November 2017, Plaintiff expressed his concerns that the delay in

receiving a response to his grievance could adversely affect the proper

exhaustion of his administrative remedies. And after his January 2018

transfer from Western to Hill, Plaintiff availed himself of a provision in the

Code that permitted him to submit a direct appeal to the ARB on specific

issues that occurred at Western. In his direct appeal to the ARB, Plaintiff

reiterated his excessive force claim and correctly omitted any reference to

his deliberate indifference claim.




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     However, Plaintiff does not cite facts to establish that a genuine

dispute exists as to the proper exhaustion of his September 29, 2017,

grievance by timely filing it to the ARB or his January 2010 grievance to the

ARB, which it declined to review on procedural grounds. See Woodford, 548

U.S. at 90 (concluding that exhaustion of administrative remedies “means

using all steps that the agency holds out, and doing so properly (so that the

agency addresses the issues on the merits”) (quoting Pozo, 286 F.3d at 1024)

(emphasis in original).

     Accordingly, because the Court finds that Defendants have satisfied

the burden of persuasion, the Court must dismiss Plaintiff’s Eighth

Amendment claims. See Ross v. Blake, 136 S. Ct. 1850, 1856-57 (2016) (“[A]

court may not excuse a failure to exhaust, even to take special

circumstances into account.”)

IT IS THEREFORE ORDERED:

     1) The Court GRANTS Defendants’ motion for partial summary
judgment [26].

     2) The Court GRANTS summary judgment as to the following
claims: (1) Plaintiff’s Eighth Amendment excessive force claim against
Defendants Cortes and Ryan and (2) Plaintiff’s Eighth Amendment

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deliberate indifference claims against Defendants Berghaus, Cortes,
Dralle, Manton, Ryan, and Smith.

     3) Plaintiff’s First Amendment retaliation claim against Defendants
Berghaus and Ryan remains pending.

     4) The Clerk of the Court is directed to terminate Defendants
Cortes, Dralle, Manton, and Smith as parties in this case.

     5) Discovery on the merits is no longer stayed. See October 10, 2018,
Text Order. The Court’s Scheduling Order [23] is amended as follows:
Discovery closes on November 29, 2019. Summary judgment motions are
due on January 2, 2020.

Entered July 23, 2019.



                           s/ Colin S. Bruce
              _________________________________________
                           COLIN S. BRUCE
                   UNITED STATES DISTRICT JUDGE




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